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July 19, 2021

BY ECF AND EMAIL

The Honorable Robert D. Drain
United States District Court
Southern District of New York
300 Quarropas Street
White Plains, NY 10601-4140

Re:    In re 96 Wythe Acquisition LLC, Case No. 21-22108 (RDD)

Dear Judge Drain:
       As the Court is aware, we represent Benefit Street Partners Realty Operating Partnership,
L.P. (“Benefit Street”). I write to make three brief points in response to the Debtor’s letter to the
Court dated July 9, 2021 in connection with the discovery conference now scheduled for July 20,
2021 at 10AM.
        First, under the terms of the PPP program, loans must be based upon the applicant’s
employees and payroll. Here, the applicant was the Hotel Manager, not the Debtor. But the Debtor
does not deny that the PPP Loan was premised upon its employees. If true – and the Debtor could
readily have proven otherwise by providing the payroll support given to the PPP lender – this
suggests that the Hotel Manager (as applicant) obtained the roughly $1.5 million loan based not
upon its own operations and employees but upon the Debtor’s employees. As such, the PPP Loan
proceeds should have been used for the payment of the Debtor’s employees, utilities and mortgage
interest, thereby allowing operating revenues to be used to pay other Hotel expenses, including
property taxes. Instead, the Receiver paid expenses otherwise intended to be covered by the PPP
loan out of the receivership estate, leaving nothing for the payment of property taxes and other
operating expenses not covered by the PPP loan. This raises a significant concern that there has
been a misapplication and misuse of PPP loan proceeds.
       The Receiver, who was obligated to collect all monies on behalf of the Debtor, appears not
to have known of these loan proceeds, even though the payments were revealed on the face of
Hotel Manager’s bank statements. Given that the loans appear to have been obtained in violation
of both the Receiver Order and the Loan Agreement, he should have demanded and used all of
these monies (again, obtained based upon the Debtor’s payroll) for the benefit of the Debtor
        Second, instead of addressing the central issue, the Debtor presents a series of ad hominems
and distortions regarding Benefit Street and its inquiries of the Debtor. Putting aside the invective,
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Benefit Street does not seek an audit, but simply the actual payroll documentation that the Hotel
Manager was required to submit to the banks which made the PPP and related loans. That is a
discrete, readily-identifiable, set of documents which is not burdensome to produce. One member
of the Debtor’s five-person accounting staff should be able to locate these materials in minutes.
        Third, the Debtor’s suggestion that discovery disputes are distracting it from the
reorganization effort is baseless. These discovery issues are very narrow and should not be time
consuming to produce, if produced responsively and cooperatively. To that point, although it is a
fiduciary subject to the presumption of transparency, the Debtor has not produced a single page
consensually, but has instead forced Benefit Street to go to the Court for every document it has
received. While it is dubious that these limited discovery matters – which involve its litigation
counsel, not even its bankruptcy counsel – create much distraction, the Debtor could have avoided
them altogether with a minimal amount of cooperation.
        Moreover, although not directly relevant for purposes of this motion, these issues are
extremely relevant to the administration of the bankruptcy case. The Hotel Manager continues to
hold and manage estate assets – a concern also raised by the US Trustee. The Hotel Manager
should be required to account for the use of the proceeds of the two government assistance loans
and any other similar loans it may have obtained. If the Hotel Manager still holds PPP or similar
loan proceeds, they may be available to pay certain the expenses of administration (e.g., employees
and utilities) consistent with the purposes of the PPP loans, thereby allowing other revenues to pay
non-covered expenses (including those the Debtor is currently failing to pay). As importantly, any
misuse of PPP loan proceeds would be directly relevant to the suitability of the Debtor’s
controlling insiders as an estate fiduciary and may give rise to estate claims.
        For these reasons and as outlined in our July 8 letter [ECF No. 63], the Debtor should be
directed to comply with the Court’s production order and provide the full, unredacted
documentation behind these government loans, including the documents it submitted to the lender
as part of its loan applications.
Respectfully submitted,


/s/ P. Bradley O’Neill
P. Bradley O'Neill


Cc:       Jason Nagi, Esq.
          Mark Frankel, Esq.
          Douglas Kellner, Esq.
          Gregory Zipes, Esq.




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